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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF KENTUCKY
                           NORTHERN DIVISION AT COVINGTON
                             CASE NO. 2:21-CV-00105-DLB-EBA


    CHRISTY BECKERICH, et al.,                        :
                                                      :       Judge David C. Bunning
           Plaintiffs                                 :
                                                      :
    v.                                                :
                                                      :       NOTICE OF ENTRY OF
    ST. ELIZABETH MEDICAL CENTER, et                  :       APPEARANCE OF ALAN J.
    al.                                               :       STATMAN
                                                      :
           Defendants

           Please take notice and be advised that Alan J. Statman hereby enters his

    appearance in this action as co-counsel for Plaintiffs.



                                                  s/Alan J. Statman_______________
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                                 CERTIFICATE OF SERVICE

           Pursuant to Fed. R. Civ. P. 5(d) and other applicable law, I certify that on
    September 21, 2021, I electronically filed the foregoing with the Clerk of Court using the
    CM/ECF system, which will automatically send email notification of such filing to all
    counsel of record who are deemed to have consented to electronic service.


                                                  /s/Alan J. Statman      ____
                                                  Alan J. Statman
